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 8                               IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                         )    CASE NO. Cr-S-04-118-LKK
                                                        )
12                               Plaintiff,             )    ORDER RE: MOTION TO TREAT
                                                        )    ALLEGATION IN THE INDICTMENT AS
13                      v.                              )    SURPLUSAGE
                                                        )
14                                                      )    DATE: June 16, 2008
      ROBERT OLIVER, et al.                             )    TIME: 9:30 a.m.
15                                                      )    CTRM: HON. LAWRENCE K. KARLTON
                              Defendants.               )
16                                                      )
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18          This matter came before the Court on the motion of the United States for an order that the
19   allegation in counts 20-30 of the indictment in the above-captioned action - that the defendants
20   “wilfully” conducted financial transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i) - is surplusage
21   and will be omitted from any jury instruction concerning those counts. For the reasons set forth in the
22   government’s Memorandum of Points and Authorities, and GOOD CAUSE APPEARING
23   THEREFORE, the government’s motion is GRANTED.
24          IT IS SO ORDERED.
25   DATE: June 19, 2008
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